          Case 3:12-cv-00123-AWT Document 1 Filed 01/27/12 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

JESSICA SHAW                                               JURY TRIAL DEMANDED

v.                                                  CASE NO. 3:12CV

PARKER, LAWLER AND ASSOCIATES, LLC
SCOTT A. WILSON
                            COMPLAINT

        1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act ("FDCPA"), 15

U.S.C. § 1692, the Connecticut Creditor’s Collection Practices Act (“CCPA”), and the Connecticut Unfair

Trade Practices Act.

        2. The Court has jurisdiction. 15 U.S.C. § 1692k; 28 U.S.C. §1331, § 1367.

        3. Plaintiff is a natural person who resides in Connecticut.

        4. Defendant Wilson owns and operates defendant Parker, Lawler and Associates, LLC, and

personally participated in the actions described herein.

        5. Defendant Parker is a business engaged in buying defaulted accounts and engaging in

collection efforts thereon.

        6. In and after February, 2011, defendants engaged in collection efforts with regard to “an

account with Washington Mutual and/or its predecessor or successor.”

        7. Defendants alleged that Jessica Shaw used the account “by purchasing goods and services

used for personal and family purposes.”

        8. Defendants claim to have purchased the Washington Mutual account, but the incomplete

chain of title they provided court includes no document showing that Washington Mutual ever had or

originated the alleged account.

        9. Defendants claim that a payment was made in October 2007, but refused to provide

documentation of that payment.

        10. Plaintiff believes no such payment was made; accordingly the account is beyond the statute of
          Case 3:12-cv-00123-AWT Document 1 Filed 01/27/12 Page 2 of 2




limitations.

        11. Defendants falsely claim that they mailed a first class letter to plaintiff on December 28,

2011, in order to meet the filing requirements of the small claims court.

        12. Defendants fabricated a statement of account as a basis for making a claim on an account

stated theory of recovery.

        13. Defendants failed to provide notices required by §1692e(11) or §1692g.

        14. In their collection efforts, defendants violated the FDCPA, § 1692d, -e, -f(1), or -g.

Defendant Parker violated the parallel provisions of the CCPA. Both defendants violated CUTPA

WHEREFORE plaintiff respectfully requests this Court to:

   1. Award plaintiff such actual, statutory or punitive damages as are permitted by law, including

       $1,000 statutory damages under the FDCPA against each defendant.

   2. Award plaintiff such damages as are permitted by law, including $1,000 statutory damages under

       the CCPA against Palmer.

   3. Award such other and further relief as law or equity may provide.

                                                            THE PLAINTIFF



                                                            BY__/s/ Joanne S. Faulkner__
                                                            JOANNE S. FAULKNER ct04137
                                                            123 AVON STREET
                                                            NEW HAVEN, CT 06511-2422
                                                            (203) 772-0395
                                                            faulknerlawoffice@snet.net




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